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   EXHIBIT
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       To: Director Curtis McKenzie
       From: Student Officer Garrett Danna
       Re: Firearms Incidents
       Date: December 18, 2013

       Per your request, the following incidents occurred during the week of firearms in West
       Springfield and at the Western Massachusetts Police Academy. The first inappropriate
      comment made by Officer Shaddock of the Holyoke Police Department was towards
      Student Officer Latino during practice firearms at the Western Mass. Police Academy
      class room. Officer Shaddock advised him to smell his fingers and asked what they
      smelled like, Officer Shaddock then advised Student Officer Latino that it was the smell
      of his wife.

     Throughout the week there was several comments made to me by Officer Shaddock.
     During these incidents firearms staff instructors Were present on the firing range. The
     term of faggot and retard were said several times (at a minimum of twenty times) during
     the week directed towards student officers.

      The first inappropriate comment that was made to me by Officer Shaddock was while on
      the firing range "I'm going to fuck you so hard and then tattoo a butterUy em your back".
     Once the comment was said I continued on with training throughout the day. The second
     comment made to me during the week by Officer Shaddock was due to messing up on the
     range, he advised me to make sure I grab my Vaseline for the next day. While I don't
     recall his exact wording. he WlJ!I referencing anal sex. I was both shocked and taken back
     by the statements.

     Ncar the end of the week the class and I were standing in a straight line on the firing line.
     Officer Shaddock came up behind me and started to pinch between my legs and buttocks
     several times (roughly five or six times), this was witnessed by Student Officer Wilkins.

    The last incident that occurred was again while we were lined up on the firing line,
    Officer Shaddock came up behind me and started to dry-hump me from behind several
    times, as he was doing the act he stated. "Danna you like that don't you".

    At the end of the day, after the incident I was asked in a joking manner by Officer
    Shaddock and Officer Keddie if I was going to complain about being hazed on. They
    then proceeded to ask the class if anything they said offended us.


    Respectfully submitted •
      .$~,..--
    Garrett G. Danna



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                                                                                        JILL E. SHEPHERD, RPR,          csil'


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      To:   Academy Director Curtis M. McKenz:ie
      From: Student Officer Nicholas R. Latino
      Date: 1212012013
     RE:     Student Officcr Latino Incident Statement
     Sir:


      On Thursday, December )9~~,2013 Academy Director McKenzie instructed me to write a
     statement regarding an incident that happened between officer Shattuck and 1. The incident
     occurred during fireanns safety in the academy building on either October 28. 2013 or October
    29, 2013. While tra.ining in the academy building. officer Shattuck approached me from the side
    and put two of his fingers under my nose. He then asked me "smell like your wife?" 1knew what
    he said was a joke, and COming from the miJitnxy it did Dot bother me. A couple of my fellow
   student officers also heard officer Shattuck's comment towards me. They were offended by his
   statement   I haven'tfo'Wllrds
   negative attention             about the incident since it occurred, because r did 110t want to Create
                           spoke me.



   R~;;;Z~"j;ko
  Nicholas R Latino




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     To:
                   Academy Director Curtis M. McKenzie
     From:         Student Officer Kurt H. Wilkins
     Date:         J 2/20/2013
     RE:          Range: Training
    Sir:


     1 am writing in regards to the behavior of Officer Shattuck in the course of firearms training for
     the Western Mass Academy 49th ROC. This training took place at both the Western Mass
    Academy building at Springfield Technical COIlUllunity College and the West Springfield Police
    Range. There were several incidents that concerned me due to their inappropriate nature. One
    incident involved an inappropriate comment made to Student Officer Latino. A majority of the
   incidents involved Student Officer Danna; throughout the training Officers Shattuck and Cady
   paid a great deal of attention on Student Officer Danna. nus attention started with casual teasing
   bur escalated through the week. The following is a synopsis of those events as I perceived them.

             1. While training in the academy building Officer Shattuck made comments to Student
            Officer Latino eluding thnt he (Officer ShAttuck) had sexual relations with 8.0. Latinos
            wife. This reference was made by Officer Shattuck placing his pointer and index fingers
            If) front of S.O. Latino's nose end saying "do you smell that? That's your wife."



           2. Throughout our seven days of training Officer Shattuck addressed the elass 09 fags,
            faggots, fairies, ladies, and retards, Often these terms were followed by Officer Shattuck
           saying "I mean student officers, I'm not supposed to call you that" Or variations of the
           same. It appeared that Officer Shattuck was making a joke about the hazing policles
           adopted by the MPTC.

           3. On one afternoon Student Officer Danna told me he was supposed to bring in Vaseline
           as Officer Shattuck had advised him to do so saying that it was for what Officer Shattuck
           was going to do to him if he messed up again.

       4. While officer Danna was standing on a firing line after finishing a course of fire and
       3W'diting instructions I observed Officer Shattuck walk up behind Danna, grab his
       shoulders and start thrusting his hips into Danna'S buttocks. While driving home after this
       event Danna advised that the "humping" bad made him uncomfortable lind did not know
       why he was being targeted.

      5. While Danna was on the firing line r observed Officer Shattuck grab Danna's buttocks
      outside the pants and make several movements with his hand, on speaking 10 Danna
      about this on our ride home Danna advised that "Shattuck stuck his fingers in my ass all
      the way to my asshole". D8.I)nawas clearly upset over this incident nod was unsure if he
      should say something about it or not.

      6. At the end of the week Officer Shattuck addressed the class and in the course of
      speaking to us said "no one here was insulted or anything this week, right?" Ail student
      officers said we had not. On speaking with Danna on the way borne ......
                                                                            -e were in




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                   agreement that the treatment if the class and especially Danna had been inappropriate.
                   We agreed that it would not be worth saying anything about the treatment until after the
                  academy due to tbe fact that Officer Shattuck had referenced the fact that he would be
                  testing us in applied patrol procedures.

     The -ent        of the student officers f!rroughouf fircanns week did not apperu- to serve any type
     of training function. In thc course of the ""mIng 1 watcbed Stndent Officer Danna go fro," being
    tolerant of the treatment to being upset about it and just wRIlting to get the week over v.ith. This
    Was   a cause
    the issue     for concern,
               however   he Sawhowever
                                 fit.     after speabng with Stude!)! Offiu:r Danna I agreed to handle



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               To:    Academy Director CUI1is M. McKenzie
              From:   Student Officer Adam 1. Szymllllski
              Date:   1212712013
              RE:     Firearms   Instructors' Behavior
             Sir;



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          ","OUU' of off-<o)"" look"      "'0"" and "",hroom "YI' h"",ou,d     Jokes.   Tho '<""""n~.     whlJ. prob,b)y
         in"P]lro",'OI"
         in  stride.     did not seem    '0 be ,"",,~d   with ony Iypc of m"'ico. A'th, time I believe 'h, oJ", took iI


         During the training. I can recall Ofc, Shattuck asking the class, and SUbsequent range group, if we werre
         easily offendod. or if we had been offimdcrl. As far lIS r can recall. nobody SPOke up and !l!cidthey were.                      r
        believe
        from               asked two or three times. Ofe. Shattuck mentioned SOCTIe sort of (I(J issue or COmplaint
                  this was cms.q
               a Previous


       During the classroonJ portion, Ore. Shattuck WIl3 horsing around with S.O. Latino and held up two
       fingers. He beld his fingen to S.O. Latino's DOse .and made a sexual comment about S.O. Latino's wife.
       S.O. Latino joked back with Ofc. Shattuck but I an1 unablo to recall what WDS~ificalJy   said.

   The locker room and bathrooln humor continued throughout fIlIrge week.. There ....ru 8 refu~co made to
   "fugs" but J am unsure who mentioned it. At one point, Ofc. Shmuck WIlS horsing around with S.O.
   Danna and touched bis buttocks. r recall there was "bUlllping type movements being portrayed IlS Well.
                                                                       h




   f recall hearing that S.O. CUnn.ingham had dirt kickcxl into his face and mouth while he was on his hll1lds
   and knees, picking up :,-pent casings. S.O. Cunningham mentioned that a reference was made to liking
  "shit in his mouth" after the dirt had gone into his mouth. 1 was not witness to this, but heard of it
  afi8TW!irdS.


  During range week 8S well. Ofc. Shattuck asked me ifmy wife "read the newspaper while I was fucking
 ber". While 1 WIl..'!not offended, as r knew he was joking around with me, the comment struck mc as
 inappropriate. His comment Wu.s not prompted by Illlything else, or any type of cQ'QVetsation. He simply
 asked the question out of the blue.


 While the instructors were inappropriate at times, tho horseplay and hwnol' ~a..sed at the      fLTin8   line.

Respectfuuy Submitted,




Adam    J.   Szym8.11ski



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   To:     Academy Director Curtis M. McKenzie
   From:   Student Officer Kirk E. Nichols
   Date;   12124/2013
   RE:     Range Week One Behavior

   Sir:

  A few things which I feel are inappropriate happened on behalf of the range staff during the first
  week at the range and the couple of days we had in the classroom. Some things happened that J
  saw and experience, some things happened that I did not see and only heard about through my
  fellow recruits who were at the range and in the classroom before we wem to range. A telling
  moment that it would be an interesting week at the range was the first morning at the range when
  we were told "what happens at the range, stays 81: the range' by Officer Cady and Shattuck. I
  understand that thi.s might have meant that training scenarios should not be discussed with the
  other half of the class, bU1it seemed more ominous than just that.

 One thing that [ did not see, but heard from the Student Officer Latino was the comment made
 by OffiCtJr Shattuck regarding Student Officer Latino's wife. Student  Officer Latino told me that
 Officer Shattuck took his index and middle finger of one hand and rubbed it under Student
 Officer Latino's nose, making a comment along the lines of ' How does your wife smell Latino?'

 Another issue was Officer Sbatiuck touching Student Officer Dorval while she was searching
 him. We were instructed to search anyone and everyone for live ammunition when they entered
 the classroom, and because the range staff had been 'fighting back' and 'resisting' while being
 searched, we implemented that two student officers would search one person ot the same time.
 Officer Shattuck, while being searched by Student Officer Dorval and another, grabbed her thigh
 and made a comment stating 'she must work out.' Officer Shattuck recovered by saying that
 people will make these comments to her on a regular basis on the street, and while I agree that it
 is possible, I feel that the touch was inappropriate. There was a look of embarrassment on
 Student Officer Dorval's face, and you can tell just by looking at her she felt embarrassed and
 uncomfortable.

[ did not see what happened to Student Officer Danna, however I heard all about it I heard from
the people in my range group that he was bent over (I barrel by one of the range staff and was
'humped' from behind as if to insinuate he was receiving anal sex.

 One thing that stands out in my mind was the night shoot. Officer Cady lcctun .."<1 us about his
Australian visitor for a long time that afternoon, and the thing he kept repeating was not to
embarrass him in front of the Australian visitor. We took this seriously, and worked very bard to
be on our best behavior. He had the microphone for the P A system and was burping into it,
farting into it and doing other inappropriate things "With it. It felt like 8 slap in the face to us, who
worked hard to present a professional training environment on the side of the students, while
Officer Cady did everything possible to embarrass himself. It was my opinion that not only do
we IlS students represent the Western Massachusetts Police Academy. the staff associated with
our class does just as well. At the end of the night it was a general con3CnSUS between th ose in
our range group that we were embarrassed because of his behavior.


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The l~age      used at the range WBS also problematic. 1 understand that policing and the police
community might have issues with strong language. We might use strong language and
obviously, strong language might be used against us. The language used against us by Officers
Cady and Shattuck was inappropriate and somewhat offensive. We were called "bitches,"
"Jerry's Kids," and many other things. I think being called "Jerry's Kids" might have been the
most offensive. The fact they used a charity group for children to make fun of us and put us
down. was extremely offensive, and anyone with a child who has benefitted from the JeITY's
Kids organization would be highly offended.

The behavior both of Officers Cady and Shattuck \...-as not appropriate for a police academy
setting. The fact that they used their leverage as instructors over us as police academy recruits
sham an almost predator like instinct We have discussed bow individuals who ate sexual
predators and those who prey on people will take advantage of situations where they have power
over others to commit their acts and behave the way they do, and this feels eerily similar to what
happened with us on the range. Further, Borne of the closing statements Officers Cady and
Shattuck made to us on the last day of the range showed a complete disregard for our feelings
DO.dhow what they've said affecred us. The last thing I remember them saying to US was
something along the tines of ' you guys can go back to the academy and bitch and moan about
how we have talked to you and treated you, but we already have OUT badges.'


Respectfully Submitted,

    7t1{1!J
Kirk E. Nichols




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         To:   Academy Director Curtis M. McKenzie
     From:     Student Officer Travis G. Cunningham
     Dille:    ] 2/27/2013
     RE:       Range Week One Bebavior

     Sir:

    During the two days of classroom as well as the \....eek long I spent at the range I was appalled
    with the decorum of the instructors. I completely understand that officers are meant to be chick
    skinned and able to take inherent verbal and physical abuse but, this went beyond reasonable.

   While in the classroom portion of firearms I remember seeing officer Shaddock lift his two
  fingers to Nicholas Latino's nose and make a comment to the effect of "does this smel) like your
  wife"? J can't say verbatim, but I do remembe- hearing and seeing this happen. Also during this
  time I recall Ore Cady calling us "a bunch of Jerry's Kids", While SOme in our class may not be
  aware of what he was referring to, J did, and found it offensive and unprofessional.

  Once we were at the range things became even more grotesque. Ofc Shaddock began to "dry
  hump" student officer Danna and make comments about putting 8 tattoo on his back side, I
 remember that when the student officers were picking up brass from the range, Ofc Shaddock
 began kicking dirt and rocks into my face as I was crawling on the ground asking me "how do
 you like shit in your mouth Cunningham"? 1 also remembe- another student officer telling me
 Ofc Shaddock asked student officer Szymanski if his wife read the newspaper while he "tucked"
 her. With the rest of the academy set in such high standards I fed offset by even having to write
 this,


  Throughout the academy we have had numerous instructors, and Done have made any derogatory
 remarks. I believe thai this completely took away from the learning value from firearms. It's
 sad to see Ofc Shaddock resort to such homophobic comments throughout each day as he was
 very knowledgeable regarding the subject matter of firearms. Ofc Gaynor while present did not
 participate in any verbal abuse, She remained professional througbout.


Respectfully Submitted,




Travis G. Cunningham




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   To:    Director Curtis M. McKenzie
  From: Student Officer William W. Cavanaugh
  Date: 1212712013
  RE:   Range Week One Behavior

  Sir:


  This letter is to address the first week of firearms instruction. r do recall several instances which
 may be of interest. The first occurred during the in-class portion of the firearms instruction. 1
 observed Officer Shattuck: place his fingers under Student Officer Latino's Dose. I was later told
 that something to the effect of "how does your wife smell" was said by Officer Shattuck to
 Latino. This occurred when Student Officer Latino was performing a required search (for
 firearms/ live ammunition) of Officer Shattuck as was the protocol for the day for anyone re-
 entering the training area upon leaving.

On the range itself, J heard several remarks made towards Student Officer Danna, He seemed to
bear the brunt of the comments that week. When we were picking up spent rounds a remark was
made to Student Officer Danna about "bending over" with some innuendo attached. Student
Officer Symanski was asked "Docs your wife read the newspaper while you fuck her?" at one
point as well by Officer Shattuck,

The issue I remember most occurred late in the range week. Officer Shattuck made several
remarks towards Student Officer Danna stood behind him extremely close, practically touching
him. I averted my attention away at that point and focused on my equipment as I didn't want to
provide an audience for what ensued. r could teU that hands were being placed on Student
Officer Danna at this point and was later told that a "humping" motion accompanied this.

Upon reflection it seemed the majority of this behavior occurred when Officers Gaynor and Cady
were not present. It seemed that Officer Shattuck picked times whim he was isolated w:ith several
student officers to make his remarks. I'm not sure why.


Respectfully Submitted,




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                                                                                      JILL E. SHEPHERD.         RPR. CSR




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      To:      Academy Director Ctlrtis M. McKenzie
      Prom:    Student Officer Robert M. Wood
      Dllte:   1212712013
      RE;      Range Week One Behavior
     Sir:


      On December 26.20! 3, the student officers, that had firearms training for week one, were
      inforrned of an incident between Student Officer Danna and the firearms instructors. We were
     then instructed to write a "to/from" regarding the incident.

  As a student officer during the first week of fireartns training, I witnessed Officer Cady referring
  to Student Officer Danna as "dirty Smurf" multiple times. Also, When I Was on the ftring line, I
  heard Officer Cady remark to Student Officer Danna, "I'm sure you'll turn me in for that. Won't
  you?" Student Officer Danna replied, with an embarrassed-like tone, "Sir. No, Sir."

 I   do not know what had led to those comments.   However. at the end of the day, 1 had        privately
 rukcd Student Officer Danna ifeverytl!iog   was okay and he replied, "Yes."
 Respectfully Submitted,     I


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 Robert M. Wood




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                                                                               JILL E. SHEPHERD, RPR, CSR




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    To;     Academy Director Curtis M. McKenzie
    From:   Student Officer Eric R. Kirby
    Date:   12/27/2013
    RE:     Range week one Behavior

    Sir:


    On December 26th, 2013, Academy Director McKenzie spoke to me and the rest of'the student
    officers who bad fire arms training the first week. There was an incident involving Student
   Officer Danna, and the fire arms instructors. Academy Director McKenzie told us e.I1 to write a
   to/from stating what 'NC witnessed, or heard.

  [ am \\-Titing this paper stating that Iheard both Officer Shattuck, and Officer Cady calling
  Student Officer Danna "dirty smurf" numerous times. I am not sure why they called rum that, or
  what the term means.

  Respectfully Submitted,


  ~t1
  Eric R. Kirby




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                                                                            JILL E. SHEPHERD.                RPR. CSR




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       To:    Academy Director Curtis M. McKenzie
      From: Student Officer Matthew T. Mozzi
      Date: 1212712013
      RE:    Range Week One Behavior

     Sir:


     On Thursday, December 26,2013, you asked rnyselfand the other Student Officers who were
     present during firearms training the week of November 411l,2013 to write of any improper
     conduct that occurred by the instructors during this time.


     During our training there was a lot of fou11anguage being used by Instructor Shattuck and
     Instructor Cady. The majority of the Ianguage used was general insults towards OUt .firearms
    group while SOme of the language used was very homosexually suggestive in nature, This
    language was not directed at any one person but I believe it bothered some Student Officer's
   pTeS(>.nt. ThilJ l4nguago wns used primarily during Our live shoot at the Pioneer Valley SpOrtsmllO
   Club in West Springfield. MA. During the classroom instruction at the Academy there was not
   as much foul language being used toward our class.

  I did bear from fellow   Stllnl'nt O£li eert/   Llw, Gt.M;nt OMv:r Danna   was touched inupproprimely
  by Instructor Sbattuck during our training, but I did not witness this act first hand. 1 heard that
  Student Officer Danna was "humped" by fnstructor Shattuck, I remember hearing this from
  other Student Officer's that witnessed this incident. Other than bearing that this incident
  happened from others, r do not have any further information as to specifics of happened to
  Student Officer Danna


   My overall impression of Instructor Shattuck and Instructor Cady was One of disappointment. J
   believe that these two instructors have a lot of knowledge that would be beneficial for student
  officers, but J feel that their sense of humor is in poor taste. Their poor humor outweighed their
  teaching ability. I completely understand the dynarnic.~ of being a recruit officer in the police
 academy. We must be thick skinned and learn how to keep our composure in stressful situations.
 We must be taught how people on the street will speak to us. What happened at the range
 defeated the purpose of'thls thinking, It was no longer aleeming experience of how to handle
real world stress of the job. It turned into borderline hazing, and there was no value to what 'Was
done. They crossed boundaries of decency with our firearms group, and r feel they took away
from our experience at the range.

Respectfully Submitted,



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Matthew T. Mow




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 To:   Academy Director Curtis M. McKenzie
 From: Student Officer Robert Fuore
 Date: 12127/2013
 RE:   Range week one behavior

  Sir:

 In regards to our talk today the following is what I recall from my experience at the range.
 Throughout the week sexual jokes were made, none were directly towards me. I personally was
 not affected by the jokes because I am accustomed to that type of atmosphere from being in the
 military. There was however a few comments made that J felt did cross the line being in a
 training environment

 TIle one comment I recall that really stood out as crossing the line was to Student Officer Danna
 I do not recall who said it or exactly bow it was said to him but it included the words "Getting
 fucked in the ass". I did not hear the comment but was told about it later on by Student Officer
 Turley. Wc both agreed that a comment like this may not have been offensive to anyone present
 but if this comment was 10 be said (0 a homosexual student officcr that it could cause major
 problems for the instructors.

 Like I stated ear! ier I think there was more that ~1lS said during the week but I was just focused
 on the training and nothing personally bothered me. I personally think that no one was bothered
 by the comments but agree that some lines were crossed that could definitely be taken the wrong
 way if heard by the wrong person.




 Respectfully Submitted,
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  '/'{;/We--'
 Robert W. Fuore




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  To:     Academy Director Curtis M McKenzie
  From'   Student Officer Timothy N. Powling
  Date:   121272013
  RE:     Range Week One Behavior

  Sir:

  The purpose of this paper is to discuss the actions I saw and heard during firearms week        flt   the
  West Springfield gun range.

  During the week I was never a focus of any inappropriate language or actions. However, I did
  hear and sec actions that looked unprofessional. I believe it was Wednesday during firearms
  week, where student officer Nichols was instructed to read the range rules for the day. While
  Nichols was reading the rules, Officer's Shattuck and Cady began to remove Nichols equipment,
  such as his duty belt and also untie his boots and tie the laces together. I also heard comments
  from fellow student officers that were directed to student officer Dana that were inappropriate.
  The comments dealt with having Dana bring in Vaseline as it was going to serve as lube.

  The last incident that was brought to Illy attention I.believe happened on the last day of firearms.
  I was told that while student officer Dana was either shooting or trying to holster his firearm,
  Officer Shattuck grabbed Dana's rear end and also the anal region. I did Dot sec the action take
  place, I was only told about .it.

  These are the actions and comments that happened during the week of firearms that I saw as
  inappropriate.

  Respect)lly Submitted,

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  Timothy N.   PO\...tfn'g




                                                                                 EXHIBIT ___:,_
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                                                                                  DATE:        ://1 L_l1 ~
                                                                                   JILL E. Sl1EPHERD, RPR, CSR




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To:      Academy Director Curtis M. McKenzie
From: Student Officer Danielle M. Dorval
Date: 1213112013
RE:      Firearms Week

Sir:

It was brought to my attention yesterday that I was mentioned in a letter regarding a situation
that occurred during the classroom portion of firearms training. I did not think about the incident
again after it happened,

During the classroom portion of firearms training the student officers were instructed to perform
frisks, for live ammunition, OIl any person entering the third floor classroom in the academy
building. This was a safety precaution taken considering this week we had our unloaded duty
weapons to practice with.   Two student officers were told to perform the frisk. This was excellent
practice for the student officers and some of the instructors would pretend that they were
resisting so the student officers would have to control and maintain control of them to continue
the frisk.

Another student officer and I were performing a frisk on Officer Shattuck who had entered the
room by the elevator. We maintained control by having him kneel on the floor while be Vias held
in the escort position. The frisk was performed in front of the class.

Another student officer stated that Officer Shattuck while in this position bad grabbed my thigh
and stated, "you work out" I don't recall specifically what bad occurred. It may have put me in a
situation where I felt uncomfortable and embarrassed at the time. I was focused on the task at
hand and continued the frisk. It seems the incident made other student officers in the class
uncomfortable. It was mentioned in another students officer letter.

Respectfully Submitted,




Danielle M. Dorval




                                                                            EXHIBIT __JL_C_I,.:;..-') -.,-
                                                                            WIT:          .   ·dl</.t
                                                                             DATE: __              ---
                                                                              JILL E. SHEPHERD.          RPR, CSR



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To:     Acadexny Director Curtis M. McKenzie
From: Student Officer Danielle M. Dorval
Date:    1213112013
RE:     Group 2/ Firearms Week

Sir:

Concerning the firearms week the second group bad attended it was my impression  that some
manners demonstrated by two of the firearms instructors was improper. There were instances
 where foul language was used that I found unacceptable for a training setting. Some words that
 were said were "ruck, shit" and "retarded." I personally have no complaints about the actuel
 training and found the practical portion of firearms training beneficial.

 J understand that some of my fellow classmates 'were affected by the actions of some of the
 instructors during the first week of firearms. Nothing was brought to my attention. I do not have
 further information on any incidents that may have occurred.

 Respc::ctfuJly Submitted,




 Danielle M. Dorval



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 McKenzle, Curt{CJT)

 Prom;                   Mark Williams {mw12S@ymall.com]
 Sant:                   Thursday, December 19, 2013 3:03 PM
 To:                     McKenzle, Curt(CJT)
 Subject:                49th ROC Firearms


 Director McKenzie,

 I am writing this email per your request regarding ourrecent conversations about alleged incidents at
the firearms range involving some instructors and the 49th ROC.

On Friday Movember29th, 2013, at approximately 1100 hours. I received a call on my cell phone
from you. I was immediately told by you that I was on speakerphone and that Chief Campurcani from
the West Springfield Police Department was with you In your office. You told me that you were
Investigating a complaint about Instructor Bob Cady acting inappropriately,towards the student
officers. You asked me If I had seen or become aware of a specific act that Instructor Cady atlegedfy
did. I told you and Chief Campurcani that I had not seen or heard of this alleged act during any of the
times Iwas at the range.

You then asked me if I had seen anything else at the range that I thought was inappropriate from any
ofthe instructors. An incident imm^iately came tomy mind where I had seen and heard Instructor
Sean Shattuck speaking with Student Officer Dana regarding his performance during a shooting drill.
I recalled Instructor Shattuck saying to Student Officer Dana, "I will anally rape you." This statement
was made In the context of encouraging Student Officer Dana to perform better on whatever drifi they
Were working on. I told you and Chief Campurcani that I felt the comment was made as an attempt at
being humorous and as a joke, and not intended to be thought of as an actual threat. I did not
address this with Instructor Shattuck, Lead Instructor Gaynor, Student Officer Dana, or anyone else at
that time.

On Tuesday December 17, 2013, at approximately 1150 hours. I was in the classroom teaching
Domestic Vioience to the 49th ROC when you came in and asked me to go downstairs and meet with
you and Maryiou Powers. Ms. Powers asked me about the statement I had made to you regarding
Instructor Shaftuck's comment to Student Officer Dana. She asked me if this comment was made
inside the range house. I told both of you that the comment had been made while both Student
Officer Dana and Instructor Shattuck were on the firing line. Ms. Powers then asked me to share my
opinion on whether or not the firearms Instructors should be retained; I said that I thought they should
be given the opportunity to remain on staff.

Please let me know if you need anything else from me.

Sgt. Mark Williams




                                                                                 SHATTUCK000007
